Case 1:20-cv-01469-DLF Document 96 Filed 11/14/20 Page 1 of 2
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 

Black Lives Matter D.C., et al.

Plaintiff(s)
Case No.: 1:20-cv-01469-DLF

vs.

Donald J. Trump, President of the United States of America, et al.

Defendant(s)
AFFIDAVIT OF SERVICE

I, Darin Freeman, Jr., a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons and Third Amended Class Action Complaint in the above
entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this matter.

That on 11/09/2020 at 8:24 AM, I served Helmet Number A704 a/k/a Officer Nicholas Jarmuzewski, U.S. Park Police at 4530 34th
Street, Mount Rainier, Maryland 20712 with the Summons and Third Amended Class Action Complaint by serving Nicholas
Jarmuzewski, personally.

Nicholas Jarmuzewski is described herein as:

Gender: Male Race/Skin: Black Age: 40 Weight: 160 Height: 5'6" Hair: Black Glasses: No

I declare under penalty of perjury that this information is true and correct.

il /( 24020

Executed On

 

 

Darin Freeman, Jr.
Client Ref Number:0091224.00016
Job #: 1582697

 

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
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AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

for the
District of Columbia
Black Lives Matter D.C. et al.,
)
)
Plaintiff(s) )
¥. Civil Action No. 1:20-cv-1469
Donald J. Trump et al., )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) NICHOLAS JARMUZEWSKI a/k/a Helmet Number A704
Officer, U.S. Park Police
1100 Ohio Drive, S.W.
Washington, D.C. 20242

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Kaitlin Banner
Washington Lawyers' Committee for Civil Rights and Urban Affairs
700 14th Street, NW, Suite 400
Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date: 10/16/2020 /s/ Erica Garmendez

 

Signature of Clerk or Deputy Clerk

 
